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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                      CASE NO.    24-60126-CR-LEIBOWITZ

  UNITED STATES OF AMERICA,

        Plaintiff,
  v.

  JANICE ELEANOR TURNER,

       Defendant.
  _______________________________/

        ORDER GRANTING UNOPPOSED MOTION TO CONTINUE SENTENCING

        THIS CAUSE came before the Court on Defendant Janice Eleanor

  Turner’s Unopposed Motion to Continue Sentencing [ECF No. 119].

  Being fully advised, it is ORDERED AND ADJUDGED that the Motion is

  GRANTED.    The sentencing hearing scheduled for July 11, 2025, is

  CANCELLED, and is RESCHEDULED to July 23, 2025, at 10:30 am in the

  Fort Lauderdale Division.

       DONE AND ORDERED in the Southern District of Florida on June
  3, 2025.




  cc:   counsel of record
